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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION
In Re:                                           )     Chapter 7
Susan Elizabeth Collins                          )     Case No. 18-51538-AEC
                                                 )     Judge Austin E. Carter
                                                 )
                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

       Pursuant to Bankruptcy Rules 2002 and 9010, the undersigned attorney enters this Notice
of Appearance on behalf of Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors or assigns
(hereinafter referred to as “Creditor”), a secured creditor in the above referenced case on real
property located at 66 Ryan Lane, Pitts, GA 31072. Creditor, through counsel, hereby requests
that all notices to Debtor(s) or Creditors also be mailed in care of Creditor as follows:
                               Shapiro Pendergast & Hasty, LLP
                               211 Perimeter Center Parkway, N.E., Suite 300
                               Atlanta, GA 30346
       Dated: September 24, 2018
                                                      Shapiro Pendergast & Hasty, LLP


                                                      /s/Taylor S. Mansell__________
                                                      Taylor S. Mansell
                                                      Georgia Bar No. 940461
                                                      211 Perimeter Center Parkway, N.E.
                                                      Suite 300
                                                      Atlanta, GA 30346
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